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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


  AMBER HUGHEY,                                          Civil Action No.:
      Plaintiff,

      vs.                                                COMPLAINT AND DEMAND FOR
                                                         JURY TRIAL
  GC SERVICES, LP; and DOES 1
  through 10, inclusive,
        Defendant.




                                            COMPLAINT

                                     I.       INTRODUCTION

  1. This is an action for actual and statutory damages brought by Plaintiff, Amber

  Hughey, an individual consumer, against Defendant, GC Services, LP, for violations of

  the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter ‘‘FDCPA’’),

  which prohibits debt collectors from engaging in abusive, deceptive, and unfair practices.

                                     II.          JURISDICTION

  2. Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. § 1337.

  Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and 2202. Venue in this

  District is proper in that the Defendant transacts business here.

                                           III.     PARTIES

  3. Plaintiff, Amber Hughey, is a natural person with a permanent residence in

  Mooresville, Morgan County, Indiana 46158.

  4. Upon information and belief the Defendant, GC Services, LP, is a corporation

  engaged in the business of collecting debt in this state and in several other states, with its

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  principal place of business located at 6330 Gulfton St., Suite 300 Houston, Harris

  County, Texas 77081. The principal purpose of Defendant is the collection of debts in

  this state and several other states, and Defendant regularly attempts to collect debts

  alleged to be due another.

  5. Defendant is engaged in the collection of debts from consumers using the mail and

  telephone. Defendant regularly attempts to collect consumer debts alleged to be due to

  another. Defendant is a ‘‘debt collector’’ as defined by the FDCPA, 15 U.S.C. §

  1692a(6).

                               IV.   FACTUAL ALLEGATIONS

  6. The debt that Defendant is attempting to collect on is an alleged obligation of a

  consumer to pay money arising out of a transaction in which the money, property,

  insurance or services which are the subject of the transaction are primarily for personal,

  family, or household purposes, whether or not such obligation has been reduced to

  judgment.

  7. Within one (1) year preceding the date of this Complaint, Defendant, in connection

  with the collection of the alleged debt, communicated with Plaintiff’s mother, who is not

  a co-signor on the alleged debt, and the communication was not conducted in a manner

  compliant with §1692b of the FDCPA.

  8. The representations made to Plaintiff by Defendant regarding garnishment were false.

  9. The natural consequences of Defendant’s statements and actions were to unjustly

  condemn and vilify Plaintiff for her non-payment of the debt she allegedly owed.

  10. The natural consequences of Defendant’s statements and actions were to produce an

  unpleasant and/or hostile situation between Defendant and Plaintiff.



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  11. The natural consequences of Defendant’s statements and actions were to cause

  Plaintiff mental distress.

  12. Defendant utilized unfair and unconscionable means to collect on Plaintiff’s alleged

  debt, by lying to and misleading Plaintiff.

                                   V.    CLAIM FOR RELIEF

  13. Plaintiff repeats and realleges and incorporates by reference to the foregoing

  paragraphs.

  14. Defendant violated the FDCPA. Defendant’s violations include, but are not limited

  to, the following:

                  (a) Defendant violated §1692b(2) of the FDCPA by telling a third-party

                       that the Plaintiff owes an alleged debt; and

                 (b) Defendant violated §1692(b) of the FDCPA by communicating with a

                       third party in connection with the collection of an alleged debt without

                       the consent of the Plaintiff and the contact was not in a manner

                       covered by §1692b of the FDCPA; and

                 (c) Defendant violated §1692d of the FDCPA by engaging in conduct the

                       natural consequences of which is to harass, oppress, or abuse any

                       person in connection with the collection of an alleged debt; and

                  (d) Defendant violated §1692f of the FDCPA by using unfair or

                       unconscionable means in connection with the collection of an alleged

                       debt; and


  15. Defendant’s acts as described above were done intentionally with the purpose of

  coercing Plaintiff to pay the alleged debt.


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  16. As a result of the foregoing violations of the FDCPA, Defendant is liable to the

  plaintiff, Amber Hughey, for declaratory judgment that Defendant’s conduct violated the

  FDCPA, actual damages, statutory damages and costs and attorney fees.

          WHEREFORE, Plaintiff Amber Hughey respectfully requests that judgment be

  entered against GC Services, LP for the following:

          A. Declaratory judgment that Defendant’s conduct violated the FDCPA.

          B. Actual damages.

          C. Statutory damages pursuant to 15 U.S.C. § 1692k.

          D. Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

          E. Awarding Plaintiff any pre-judgment and post-judgment interest as may be

                 allowed under the law.

          F. For such other and further relief as the Court may deem just and proper.



  DATED: May 22, 2014                                  RESPECTFULLY SUBMITTED,

                                               By: /s/ Scott E. Racop
                                               Scott E. Racop
                                               RACOP LAW OFFICES, P.C.
                                               3031 Poplar Street
                                               Terre Haute, Indiana 47803
                                               (812) 238-0440
                                               Fax: (812) 238-0973
                                               Email: racoplaw@aol.com
                                               Attorney for Plaintiff
                                               Amber Hughey


                                 DEMAND FOR JURY TRIAL

          PLEASE TAKE NOTICE that Plaintiff, Amber Hughey, demands trial by jury in

  this action.



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